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                                                                                  AUSA McCulley
                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MARYLAND

 IN THE MATTER OF THE APPLICATION OF                          Case No. 1:21-mj-2320 TMD
 THE UNITED STATES OF AMERICA FOR A
 WARRANT AUTHORIZING THE SEARCH OF
 CERTAIN ELECTRONIC DEVICES
                                                              Filed Under Seal

 IN THE MATTER OF THE APPLICATION OF                                      1:21-mj-2321 TMD
                                                              Case No.
 THE UNITED STATES OF AMERICA FOR A
                                                                                     ____ FILED ___ ENTERED
 WARRANT AUTHORIZING THE SEARCH OF                                                   ____ LOGGED _____ RECEIVED
 A GOLD 2000 CHRYSLER TOWN AND
                                                              Filed Under Seal       8:25 am, Sep 09 2021
 COUNTRY VAN, BEARING SOUTH                                                          AT BALTIMORE
 CAROLINA REGISTRATION SFR-178, VIN                                                  CLERK, U.S. DISTRICT COURT
 1C4GP54L9YB593093                                                                   DISTRICT OF MARYLAND
                                                                                     BY ______________Deputy

                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Joshua Futter, a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives (“ATF”), being duly sworn, depose and state as follows:

                                        INTRODUCTION


       1.       This affidavit is made in support of a search warrants for:

                a. A black iPhone contained in a clear phone case with stickers on it, belonging

                    to Mizell TAYLOR (SUBJECT ELECTRONIC DEVICE 1),

                b. A pink iPhone model A1784 contained in a clear case two black circles,

                    belonging to Charles BALDWIN (SUBJECT ELECTRONIC DEVICE 2),

                c. A silver iPhone SE, belonging to Charles BALDWIN (SUBJECT

                    ELECTRONIC DEVICE 3),

                d. A white iPhone bearing serial number: 352889115890956, belonging to

                    Charles BALDWIN (SUBJECT ELECTRONIC DEVICE 4).
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                  e. A blue Samsung cellular phone bearing serial number: 353290110592953,

                      belonging to Charles BALDWIN ( SUBJECT ELECTRONIC DEVICE 5),

                  f. A black Samsung Smartphone, belonging to Charles BALDWIN (SUBJECT

                      ELECTRONIC DEVICE 6),

                  g. A white iPhone bearing serial number: 354910095740702, contained in a

                      purple cell phone case, belonging to Leah THOMPSON (SUBJECT

                      ELECTRONIC DEVICE 7),

which are each also described in Attachment A-1 and collectively referred to as the SUBJECT

ELECTRONIC DEVICES, for the items and information more fully described in Attachment B-

1; and

                  h. A 2000 gold Chrysler Town and Country, bearing South Carolina registration

                      SFR-178, and VIN:1C4GP54L9YB593093 (the “TARGET VEHICLE”),

                      further described in Attachment A-2, to seize the items described in

                      Attachment B-2.

         2.       Based on the facts set forth in this affidavit, I respectfully submit that there is

 probable cause to believe that the SUBJECT ELECTRONIC DEVICES and the TARGET

 VEHICLE contains evidence, fruits, and instrumentalities of distribution and possession with

 intent to distribute controlled substances, in violation of 21 U.S.C. § 841, conspiracy to distribute

 controlled substances, in violation of 21 U.S.C. § 846, and possession of a firearm in furtherance

 of a drug trafficking crime, in violation of 18 U.S.C. § 924(c).

                                    AFFIANT BACKGROUND

         3.       I have been a SA with the ATF since April 2020. I am assigned to the Baltimore

 Field Division, Baltimore Group II. I have received training through the Federal Law Enforcement

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Training Center, located in Glynco, Georgia, to include the Criminal Investigator Training

Program, the ATF Special Agent Basic Training Program. Prior to being a SA with the ATF, I was

a SA with Homeland Security Investigations in New York City for two years.

       4.       I have been involved in multiple investigations involving firearms violations,

domestic and international narcotics violations, and violent crimes. During these investigations, I

have conducted surveillance of numerous drug dealers. I have also interviewed drug dealers, users,

and confidential informants where I discussed with these individuals the life-style, appearance,

and habits of drug dealers and users. I have examined records of, among others, buyers and sellers’

lists and pay/owe ledgers. I have participated in the execution of several search and seizure

warrants on, for example, warrants to search residences, stash houses, social media accounts,

cellphone contents, and vehicles. I have also participated in wiretap investigations. I have assisted

in controlled purchase operations involving confidential informants and undercover

agents/officers. I have listened to and interpreted recorded conversations between drug dealers and

their co-conspirators. I have been the affiant on more than 50 search and seizure warrants.

       5.       Through my training and experience, I know the habits, methods, routines,

practices, and procedures commonly employed by persons who commit violent acts, possess

firearms illegally, and traffic controlled substances. Based upon my training and experience, I have

learned the following:

               a.     Illegal narcotics trafficking (and the possession of firearms in connection with
                      that trafficking) is an ongoing and recurring criminal activity. As contrasted
                      with crimes against persons, which tend to be discrete offenses, narcotics
                      trafficking is a commercial activity that is characterized by regular, repeated
                      criminal activity.

               b.     Cellphones are an indispensable tool of the illegal narcotics trafficking trade.
                      Traffickers use cellphones, push-to-talk phones, Short Message Service
                      (SMS), electronic-mail, and similar electronic means and/or devices, often
                      under fictitious names or names other than their own, to maintain contact with
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         other conspirators and traffickers. In addition, illegal narcotics traffickers will
         often change their cellphones following the arrest of a member of their drug
         trafficking organization (DTO), or at random to frustrate law enforcement
         efforts.


   c.    Illegal narcotics traffickers use cellphones and other electronic
         communications devices to facilitate illegal transactions. The electronically
         stored information on these devices is of evidentiary value in identifying other
         members of the trafficking conspiracy and establishing the relationship
         between these individuals, including photographs and other identifying
         information stored on these devices; they also use their cellphones to
         communicate on various social media platforms such as Facebook and
         Instagram.

   d.    Persons who commit violent acts, possess firearms illegally, and traffic
         narcotics use computers or other electronic storage media, including smart
         phones, to store the records documents, take and store photographs and videos
         of co-conspirators, and contraband.

   e.    Illegal narcotics traffickers keep and maintain narcotics, firearms, and records
         of their various activities. Such items are regularly concealed in a suspect’s
         automobile, residence, office, and on his person, and that they take various
         forms. Documents commonly concealed by traffickers, include but are not
         limited to notes in code, deposit slips, wired money transactions, hidden bank
         accounts, photographs of co-conspirators, various forms of commercial paper,
         personal address books, notebooks, records, receipts, ledgers, travel receipts
         (rental receipts, airline tickets, bus tickets, and/or train tickets) both
         commercial and private, money orders and other papers relating to the
         ordering, transportation, sale and distribution of controlled dangerous
         substances or other such documents which will contain identifying data on the
         co-conspirators. These items are kept in locations that are considered safe by
         the traffickers such as safety deposit boxes, residences, vehicles and on their
         person, where they have ready access to them. Narcotics traffickers often have
         several residences decreasing the likelihood of detection by law enforcement.

   f.    Those who engage in illegal narcotics trafficking will maintain large amount
         of cash to finance their ongoing business. The also often possess paraphernalia
         used in the manufacturing, packaging, preparing, and weighing of illegal
         narcotics. These items are frequently kept where the traffickers have ready
         access to them, including in their residences and vehicles.

   g.    Illegal narcotics traffickers often possess and use of firearms to protect their
         narcotics, proceeds, and territory where they sell the narcotics from rivals and
         potential robbers. They keep these firearms in places where they have ready
         access to them, including in their residences and vehicles.
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           6.       I have set forth only the facts I believe necessary to establish probable cause for the

    requested warrants. I have not, however, excluded information known to me that would defeat

    probable cause. The information contained in this affidavit is based upon my personal knowledge,

    my review of documents and official police reports, interviews with witnesses and other evidence

    and my conversations with other law enforcement officers and other individuals. All conversations

    and statements described in this affidavit are related in substance and in part unless otherwise

    indicated.

                                           PROBABLE CAUSE

           7.          On July 23, 2021, the Honorable Thomas M. DiGirolamo of the District of

    Maryland issued a federal search warrant for the residence of 745 North Grantley Street, Baltimore,

    Maryland 21229 (the “Grantley Street Address”). 1 Charles BALDWIN and Kevin BALDWIN

    were the targets of the warrant. The Affidavit in support of the search warrant for the Grantley

    Street Address is attached to this Affidavit as Exhibit A.

           8.       On July 26, 2021, at 6:00 a.m., the ATF, U.S. Marshal Service (“USMS”), and the

    Federal Bureau of Investigations (“FBI”) executed the search warrant at the Grantley Street

    Address. Overall, investigators found three firearms—a Springfield XD45, .45 caliber pistol, with

    an obliterated serial number, a Rossi 38 special revolver bearing a serial number J124634, a Ruger,

    5.56 caliber, and an AR-style rifle, bearing serial number 857-20170—in the basement of the

    residence. Also found in both the upstairs living room and the basement were assorted magazines,

    ammunition, drug packaging material, and a distribution amount of suspected Fentanyl (contained

    in two separate clear sandwich bags). The SUBJECT ELECTRONIC DEVICES were also



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    located in various placed in the residence, as described below.

            9.       Investigators located six individuals in the residence: Charles BALDWIN, Mizell

    TAYLOR, Leah THOMPSON, WB, LB, and TB. 2

            10.      Upon USMS advising all occupants to exit the residence, an unidentified individual

    attempted to exit the rear basement door. USMS could not identify who it was, and no occupants

    that had been detained admitted to being the one that attempted to exit out of the basement door.

    Investigators asked all occupants of the residence if anyone was still located in the residence and

    what their location in the residence was during the execution of the search and seizure warrant.

    This was done to determine if an individual was still barricaded in the basement of the residence.

            11.      TAYLOR then told investigators he had been sleeping on the couch in the living

    room, and he had run into the basement when the police attempted to make entry into the residence.

    LB and TB were both located in the upstairs of the residence. Charles BALDWIN, THOMPSON,

    and WB were all located in the basement of the residence.

            12.      Investigators seized SUBJECT ELECTRONIC DEVICE 1 from the couch

    located in the living room of the residence, where TAYLOR stated he had been sleeping. TAYLOR

    identified SUBJECT ELECTRONIC DEVICE 1 as his device, after asking investigators if he

    could have his cellphone. Several items were found in close proximately to the couch where

    TAYLOR was sleeping, including a magazine with ammunition, a scale, and drug packaging

    paraphernalia, commonly used to package a larger quantity of illegal narcotics into individual user

    quantities for sale.

            13.      Investigators seized SUBJECT ELECTRONIC DEVICES 2-7 (the remaining



2
 This Affidavit uses the initials of these three individuals because they are not the targets/subjects of the Application
and Affidavit for a Search Warrant.
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cellphones) from the basement of the residence. Charles BALDWIN identified the basement room

as his bedroom. THOMPSON also advised investigators that the basement of the residence was

Charles BALDWIN’s bedroom.

       14.     Investigators showed Charles BALDWIN SUBJECT ELECTRONIC DEVICE

4, which was found on the bed in the basement of the residence, and he identified SUBJECT

ELECTRONIC DEVICE 4 as his cellular phone and further stated that he had several cellphones

in the basement. Thompson told investigators that she possessed an iPhone with a purple case

which was located in the basement. Investigators also recovered SUBJECT ELECTRONIC

DEVICES 2, 3, 5, 6, and 7 from the basement bedroom of residence. After Thompson asked

investigators for her cell phone, she identified SUBJECT ELECTRONIC DEVICE 7, which

had a purple case, as her cellular device. As stated above, the basement is also where firearms,

several rounds of assorted ammunition and magazines, illegal narcotics, and narcotics

paraphernalia including plastic baggies used to package user quantities of illegal narcotics (which

are commonly referred to as zips) were found. I know based on my training and experience that

these small baggies are used to package into individual units of various types of illegal narcotics

including heroin, crack-cocaine, and powdered cocaine.

       15.     As described in the Affidavit in support of the search warrant for the Grantley Street

Address, see Exhibit A, investigators had information that Charles BALDWIN and Kevin

BALDWIN were selling illegal narcotics and using the Grantley Street Address to do so.

Investigators found mail at the residence on Grantley Street, in the name of Kevin BALDWIN,

including a letter from the White House, signed by President Biden, in reference to Kevin

BALDWIN’s stimulus check. Given this prior information and the narcotics and paraphernalia

found in the residence, I believe based on my training and experience that the firearms in the

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residence were there to protect a narcotics trafficking business. I further believe based on my

training and experience that the evidence found in the residence—firearms, ammunition, materials

used to prepare and package narcotics (including plastic baggies used to package larger quantities

of illegal narcotics into user quantities of illegal narcotics for the purpose of sale), a scale, and

distribution levels of narcotics—indicates that the Grantley Street Address was being used to store,

protect, prepare, and package narcotics for sale. I know based on my training and experience that

this type of residence is often referred to as a “stash house.”

       16.     I believe that SUBJECT ELECTRONIC DEVICES 2-6, believed to belong to

Charles BALDWIN, are likely to contain evidence of his narcotics trafficking activities based on

all the evidence discussed in this Affidavit and the Affidavit for the Grantly Street Address (Exhibit

A), and because, as described above, narcotics traffickers’ often keep multiple phones and use

those phones to conduct and store information relating to their illegal business. Also, given that

TAYLOR and THOMPSON were both located in the “stash house,” that THOMPSON attempted

to flee when investigators arrived, and their cellphones were found close to the narcotics

distribution items, I believe these individuals were also part of the narcotics distribution activities

and their cellphones, SUBJECT ELECTRONIC DEVICES 1 and 7 will contain evidence of

drug trafficking.

       17.     The SUBJECT ELECTRONIC DEVICES are currently in the custody of the

ATF at the ATF Baltimore Strike Force office.

       18.     The TARGET VEHICLE was parked in front of the Grantley Street Address

during the execution of the search warrant. Homeland Security Investigations (HSI) Task Force

Officer (“TFO”) and Baltimore Police Department (“BPD”) detective Donald Hayes and his police

dog (K9 “Bella”) conducted an exterior scan of the vehicle. K9 “Bella” is trained to detect the odor

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    of controlled dangerous substances. 3 These controlled dangerous substances include heroin, black

    tar heroin, cocaine and marijuana. Upon detection of any of these four controlled dangerous

    substances odors, K-9 “Bella’s” behavior will change. K-9 “Bella” is trained to come to a final

    response by passively sitting at the source of the odor. This is called a “passive” final response.

    This response may also indicate items recently contaminated with, or associated with, the odor of

    one or more of the aforementioned controlled dangerous substances. On this occasion, K9 “Bella”

    alerted to the presence of a controlled dangerous substance in the TARGET VEHICLE. The

    TARGET VEHICLE was subsequently towed to the BPD Northern District at 2201 West Cold

    Spring Lane, Baltimore, Maryland 21209, where the TARGET VEHICLE is currently being

    stored.

              19.   A South Carolina Motor Vehicle Administration database check revealed that the

    vehicle is registered to Brianna Ard. On October 28, 2020, Charles BALDWIN was the victim of

    a non-fatal shooting in the 3600 block of 5th street, Brooklyn, Maryland. As a result of

    investigation, BPD seized two cellular phones belonging to Charles BALDWIN. Investigators

    found a piece of paper folded in the phone case of one of the cellular phones recovered. The piece

    of paper stated “I Derrick Dedeaux Brianne Ard, sold this van 2000 Town & country to this buyer

    Kevin Baldwin for $450.00 on this date Oct. 3 2020. Phone number 404 576 4626 He will have

    the title on Oct 4 2020.” In the top right corner of the document the word bill of sale is written, on

    the bottom right side of the document it is signed Derrick Dedeux.



3
  Detective/TFO Hayes and his K-9 partner “Bella” have completed an eight-week drug detection
canine course with the BPD and “Bella” is certified in the detection of heroin, cocaine and marijuana
by the BPD K-9 Training Unit as of 7/7/2016. Additionally, the BPD requires that all K-9 handlers
and canines to go through annual recertification and training at a frequency of two days per month. K-
9 “Bella’s” last annual certification date was 4/29/2021.

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       20.     I know that Kevin BALDWIN is Charles BALDWIN’s brother through physical

surveillance, social media, and information from confidential sources, as described in the Affidavit

in support of the search warrant for the Grantley Street Address. See Exhibit A.

       21.     After the execution of the search warrant, BPD charged Charles BALDWIN with

assault weapon possession/sell, reg firearm: Stolen/sell ETC, known alter firearm ID number, and

body armor-may not possess. BPD charged TAYLOR with, assault weapon poss/sell, Reg firearm:

illegal Possession, RFL/shotgun poss-disqual, reg firearm: stolen/sell etc, known alter firearm ID

number, illegal poss ammo, poss of firearm minor x3, and body armor- may not poss. BPD charged

WB with assault weapon poss/sell, reg firearm: stolen/sell, known alter firearm ID number, and

body armor- may not poss.

       22.     On July 29, 2021, at approximately 5:42 p.m. Charles BALDWIN called on the

telephone number 240-229-8045 on a recorded jail telephone (which tells the users that the call

will be recorded and monitored). On this call, Charles BALDWIN was heard talking to Yolanda

Budd, who I know to be Charles BALDWIN’s mother. Further, during the execution of the search

and seizure warrant at the Grantley Street Address, Budd arrived at the residence and provided that

telephone number (240-229-8045) to investigators. During the call, Charles BALDWIN told Budd

to sell his van. Budd replied that “they” “took” the van, which I believe was Budd telling Charles

BALDWIN that investigators towed his van. The TARGET VEHICLE is the only vehicle

investigators towed so I believe that Charles BALDWIN was telling his mother to get rid of the

TARGET VEHICLE, likely because it contained evidence of illegal activity. This also leads me

to believe that Charles BALDWIN and Kevin BALDWIN shared possession of the TARGET

VEHICLE.



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   BACKGROUND CONCERNING ELECTRONIC COMMUNICATIONS DEVICES

       23.     The fruits and instrumentalities of criminal activity are often concealed in digital

form. Furthermore, digital camera technology is often used to capture images of tools and

instrumentalities of pending criminal activity. The SUBJECT ELECTRONIC DEVICES have

both digital storage capacity and digital camera capabilities.

       24.     Individuals engaged drug trafficking offenses often use cell phones to communicate

with suppliers, to place orders with suppliers, to communicate with customers, to receive orders

from customers, and to arrange meeting times and locations for the distribution of controlled

substances. The individuals engaging in drug trafficking will often use a combination of voice

calls and text messages to coordinate drug transactions. Individuals engaged in drug trafficking

offenses also use digital storage devices to maintain telephone number “contact lists” of

individuals who may have assisted in the planning of this and other criminal activity.

       25.     Narcotic traffickers often place nominal control and ownership of telephones in

names other that their own to avoid detection of those telephones by government agencies. Even

though telephones are in the names of other people, drug traffickers retain actual ownership,

control, and use of the telephone, exercising dominion and control over them.

       26.     Drug traffickers utilize different types of communication devices, and change the

numbers to these communication devices frequently. This is done to avoid detection by law

enforcement personnel. Also, as noted above, drug traffickers dedicate different communication

devices for different aspects of the trafficking organization.

       27.     Cellular phones associated with drug traffickers include various types of evidence.

Phones may contain relevant text messages or other electronic communications; they may contain

electronic address books listing the phone numbers and other contact information associated with

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co-conspirators; and they may contain other types of information.

       28.       Drug traffickers often take photos of themselves with large quantities of controlled

substances, money, or high-end consumer items, like cars or watches. Further, those who possess

firearms also often take photos of the firearms and/or themselves with the firearms. These “trophy”

photos are often maintained on cellular telephones to be shared on social media, or as symbols of

their success.

       29.       Finally, the mere fact of a cellular phone’s call number, electronic serial number or

other identifying information may be of evidentiary value as it may confirm that a particular cell

phone is the phone identified during a wiretap, pen register, or other electronic investigation.

      FORENSIC ANALYSIS OF ELECTRONIC COMMUNICATIONS DEVICES

       30.       Based on my training and experience, I know that electronic devices such as cellular

phones (smartphones) can store information for long periods of time. Similarly, things that have

been viewed via the internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools. There is probable cause to believe

that things that were once stored on the SUBJECT ELECTRONIC DEVICES may still be stored

on those devices, for various reasons, as discussed in the following paragraphs.

       31.       As further described in Attachment B-1, this application seeks permission to locate

not only electronically stored information that might serve as direct evidence of the crimes

described on the warrant, but also forensic evidence that establishes how the SUBJECT

ELECTRONIC DEVICES were used, the purpose of its use, who used it, and when.

       32.       There is probable cause to believe that this forensic electronic evidence might be

on the SUBJECT ELECTRONIC DEVICES because data on the storage medium can provide

evidence of a file that was once on the storage medium but has since been deleted or edited, or of

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a deleted portion of a file (such as a paragraph that has been deleted from a word processing file).

Virtual memory paging systems can leave traces of information on the storage medium that show

what tasks and processes were recently active. Web browsers, e-mail programs, and chat programs

store configuration information on the storage medium that can reveal information such as online

nicknames and passwords. Operating systems can record additional information, such as the

attachment of peripherals, the attachment of USB flash storage devices or other external storage

media, and the times the computer was in use. Computer file systems can record information about

the dates files were created and the sequence in which they were created.

       33.     Forensic evidence on a device can also indicate who has used or controlled the

device. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence.

       34.     A person with appropriate familiarity with how an electronic device works may,

after examining this forensic evidence in its proper context, be able to draw conclusions about how

electronic devices were used, the purpose of their use, who used them, and when.

       35.     The process of identifying the exact electronically stored information on a storage

medium that are necessary to draw an accurate conclusion is a dynamic process. Electronic

evidence is not always data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on other information

stored on the computer and the application of knowledge about how a computer behaves.

Therefore, contextual information necessary to understand other evidence also falls within the

scope of the warrant.

       36.     Further, in finding evidence of how a device was used, the purpose of its use, who

used it, and when, sometimes it is necessary to establish that a particular thing is not present on a

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storage medium.

       37.     Because this warrant seeks only permission to examine devices already in law

enforcement’s possession, the execution of this warrant does not involve the physical intrusion

onto a premise. Consequently, I submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.

       38.     During this case and in numerous others involving complex DTOs, investigators

have learned that the drug-trafficking organization relies heavily on electronic devices to facilitate

drug trafficking. It is necessary to conduct a physical inspection of the electronic devices in order

to obtain electronic communications and other information that might be stored on the seized

phones and to determine whether any of the seized phones were the subject of wiretap, pen register

or other investigation detailed herein. The phones may also contain data and communications that

were not electronically intercepted due to encryption or for other reasons.

       39.     Again, the SUBJECT ELECTRONIC DEVICES remain in the custody of law

enforcement. The only known specifics of each phone requested for authorization to search are

detailed in Attachment A-1 and the types of information expected to be recovered from the devices

are listed in Attachment B-1.

                                               CONCLUSION
       40.     Accordingly, there is probable cause to believe that evidence will be found from an

analysis of the recovered SUBJECT ELECTRONIC DEVICES.                              The SUBJECT

ELECTRONIC DEVICES may contain the records of the most recent calls, which may include

calls with persons involved in the offense(s). The SUBJECT ELECTRONIC DEVICES may

contain copies of SMS or text or other electronic communications relating to activities associated

with the offense(s). The SUBJECT ELECTRONIC DEVICES may also contain a variety of

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other electronic evidence, including electronic communications through various cellular or

internet-based applications, photographs and other information. I respectfully request that this

Court issue a search warrant for the SUBJECT ELECTRONIC DEVICES, and authorize the

search of the items described in Attachment A-1, for the information set forth in Attachment B-1,

where applicable, which constitute fruits, evidence and instrumentalities of conspiracy to distribute

controlled substances, in violation of 21 U.S.C. § 846, possession with intent to distribute

controlled substances, in violation of 21 U.S.C. § 841, and possession of a firearm in furtherance

of a drug trafficking crime, in violation of 18 U.S.C. § 924(c).

       41.     Further, I respectfully request that this Court issue a search warrant for the

TARGET VEHICLE, described in Attachment A-2, for the items set forth in Attachment B-2,

which will constitute evidence, fruits, and instrumentalities of conspiracy to distribute controlled

substances, in violation of 21 U.S.C. § 846, possession with intent to distribute controlled

substances in violation of 21 U.S.C. § 841, and possession of a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(c).

                     REQUEST FOR NIGHT-TIME AUTHORIZATION

       42.     There is good cause for the Court to authorize the requested searches at any time of

the day or night. The SUBJECT ELECTRONIC DEVICES and the TARGET VEHICLE are

already in law enforcement custody, and it is reasonable to allow law enforcement to execute the

requested searches at any hour of the day, even during the evening or night, if doing so is

convenient for the investigators or examiners.           Because the SUBJECT ELECTRONIC

DEVICES and the TARGET VEHICLE are already in law enforcement custody, there will be

no prejudice to any other person from this request.



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        43.     I declare under the penalty of perjury that the foregoing is true and correct to the

 best of my knowledge.


                                                                  Digitally signed by JOSHUA.
                                               JOSHUA. FUTTER     FUTTER
                                                                  Date: 2021.08.11 17:31:02 -04'00'

                                               Special Agent Joshua Futter
                                               ATF



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this day of ___________, 2021.


                                      The Honorable Thomas M. DiGirolamo
                                      United States Magistrate Judge




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                                    ATTACHMENT A-1
                                    Device to be Searched

        1.   A black iPhone contained in a clear phone case with stickers on it, belonging to
 Mizell TAYLOR (SUBJECT ELECTRONIC DEVICE 1).

        2.    A pink iPhone model A1784 contained in a clear case two black circles, belonging
 to Charles BALDWIN (SUBJECT ELECTRONIC DEVICE 2).

      3.    A silver iPhone SE, belonging to Charles BALDWIN (SUBJECT ELECTRONIC
 DEVICE 3).

     4.    A white iPhone bearing serial number: 352889115890956, belonging to Charles
 BALDWIN (SUBJECT ELECTRONIC DEVICE 4).

        5.     A blue Samsung cellular phone bearing serial number: 353290110592953,
 belonging to Charles BALDWIN ( SUBJECT ELECTRONIC DEVICE 5).

     6.   A black Samsung Smartphone, belonging to Charles BALDWIN (SUBJECT
 ELECTRONIC DEVICE 6).

         7.     A white iPhone bearing serial number: 354910095740702, contained in a purple
 cell phone case, belonging to Leah THOMPSON (SUBJECT ELECTRONIC DEVICE 7).

Each of the SUBJECT ELECTRONIC DEVICES is currently in the custody of the ATF at the
Baltimore Strike Force office.
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                                 ATTACHMENT A-2
                                 Item(s) to be searched

                The TARGET VEHICLE is a 2000 gold Chrysler Town and Country, bearing
South Carolina registration SFR-178, and VIN:1C4GP54L9YB593093. Below are two photos of
the TARGET VEHICLE.
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                                       ATTACHMENT B-1
                                        Items to be Seized

        All records contained in the items described in Attachment A-1, which constitute evidence of
violations of 21 U.S.C. §§ 846 and 841 and 18 U.S.C. § 924(c) including but not limited to that
outlined below, for each of the SUBJECT ELECTRONIC DEVICES,

       1.      All evidence of firearms and narcotic possession; narcotic distribution; and co-
conspirators and/or associations to same.

    2.   Contact logs that refer or relate to the user of any and all numbers on the SUBJECT
ELECTRONIC DEVICE.

       3.      Call logs reflecting date and time of received calls.

       4.      Any and all digital images and videos of persons associated with this investigation.

        5.       Text messages to and from the SUBJECT ELECTRONIC DEVICE that refer or
relate to the crimes under investigation.

       6.      Records of incoming and outgoing voice communications that refer or relate to the
crimes under investigation.

       7.      Voicemails that refer or relate to the crimes under investigation.

       8.      Voice recordings that refer or relate to the crimes under investigation.

       9.      Any data reflecting the phone’s location.

       10.     Contact lists.

    11.  Any and all records related to the location of the user(s) of the SUBJECT
ELECTRONIC DEVICE.

       12.     For each of the SUBJECT ELECTRONIC DEVICES:

               a.      Evidence of who used, owned, or controlled the SUBJECT ELECTRONIC
                       DEVICE at the time the things described in this warrant were created, edited,
                       or deleted, such as logs, registry entries, configuration files, saved usernames
                       and passwords, documents, browsing history, user profiles, email, email
                       contacts, “chat,” instant messaging logs, photographs, and correspondence;

               b.      evidence of software that would allow others to control the SUBJECT
                       ELECTRONIC DEVICE, such as viruses, Trojan horses, and other forms of
                       malicious software, as well as evidence of the presence or absence of security
                       software designed to detect malicious software;
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               c.      evidence of the lack of such malicious software;

               d.      evidence of the attachment to the SUBJECT ELECTRONIC DEVICE of
                       other storage devices or similar containers for electronic evidence;

               e.      evidence of counter forensic programs (and associated data) that are designed
                       to eliminate data from the SUBJECT ELECTRONIC DEVICE;

               f.      evidence of the times the SUBJECT ELECTRONIC DEVICE was used;

               g.      passwords, encryption keys, and other access devices that may be necessary
                       to access the SUBJECT ELECTRONIC DEVICE;

               h.      documentation and manuals that may be necessary to access the SUBJECT
                       ELECTRONIC DEVICE or to conduct a forensic examination of the
                       SUBJECT ELECTRONIC DEVICE; and,

               i.      contextual information necessary to understand the evidence described in this
                       attachment.

        With respect to the search of any of the items described above which are stored in the form
of magnetic or electronic coding on computer media or on media capable of being read by a computer
with the aid of computer-related equipment (including CDs, DVDs, thumb drives, flash drives, hard
disk drives, or removable digital storage media, software or memory in any form), the search
procedure may include the following techniques (the following is a non-exclusive list, and the
government may use other procedures that, like those listed below, minimize the review of
information not within the list of items to be seized as set forth herein, while permitting government
examination of all the data necessary to determine whether that data falls within the items to be
seized):

       1.      surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for markings it contains and opening a drawer believed to
contain pertinent files);

        2.     “opening” or cursorily reading the first few “pages” of such files to determine their
precise contents;

       3.      “scanning” storage areas to discover and possible recover recently deleted files;

       4.       “scanning” storage areas for deliberately hidden files; or

        5.       performing key word searches or other search and retrieval searches through all
electronic storage areas to determine whether occurrences of language contained in such storage areas
exist that are intimately related to the subject matter of the investigation.


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       If after performing these procedures, the directories, files or storage areas do not reveal
evidence of the specified criminal activity, the further search of that particular directory, file or
storage area, shall cease.

        With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, documents, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may implicate the attorney-
client privilege, law enforcement personnel will discontinue its review and take appropriate steps to
segregate all potentially privileged information so as to protect it from substantive review. The
investigative team will take no further steps regarding any review of information so segregated,
absent further order of the court. The investigative team may continue to review any information not
segregated as potentially privileged.




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                                     ATTACHMENT B-2
                                      Item’s to be seized

1.    Any narcotics and any records of narcotics transactions including, but not limited to,
      books, ledgers, receipts, notes, and other papers relating to the manufacture,
      transportation, possession, and distribution of controlled substances;

2.    Financial instruments and records and other records or documents relating to narcotics-
      trafficking activity or the disposition of narcotics proceeds, including, but not limited to,
      currency, bank checks, cashiers checks, Western Union receipts, money orders, stocks,
      bonds, precious metals, and real estate records.

3.    Records that identify other co-conspirators, including, but not limited to: address books,
      telephone books, rolodexes, telephones, pagers, or personal digital assistants with stored
      telephone information, notes reflecting telephone and pager numbers, photographs (to
      include still photos, negatives, movies, slides, video tapes, and undeveloped film), and
      audiotape recordings of conversations, including those made over telephone answering
      machines;

4.    Cellular telephones, pagers and records and receipts reflecting their ownership and use;

5.    Documents or other records relating to state court proceedings involving other co-
      conspirators, including, but not limited to, charging documents and bail records;

6.    Identification documents;

7.    Records of travel including, but not limited to, tickets, transportation schedules,
      passports, notes and receipts related to travel, and motel/hotel receipts;

8.    Indicia of ownership of the vehicle, including keys, photographs, or documents;

9.    United States currency, precious metals, jewelry and financial instruments, stocks and
      bonds;

10.   Safes, combination or key-lock strong boxes or other secure storage containers, suitcases,
      locked cabinets and other types of locked or closed containers, and hidden compartments
      that may contain any of the foregoing.

11.   Firearms, ammunition, and any records pertaining to firearms, or the transaction of
      firearms.

12.   Computer(s), computer hardware, software, related documentation, passwords, data
      security devices (as described below), videotapes, and or video recording devices, and
      data that may constitute instrumentalities of, or contain evidence related to the specified
      criminal offenses. The following definitions apply to the terms as set out in this affidavit
      and attachment:
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           a. Computer hardware: Computer hardware consists of all equipment, which can
              receive, capture, collect analyze, create, display, convert, store, conceal, or transmit
              electronic, magnetic, or similar computer impulses or data. Hardware includes any
              data-processing devices (including but not limited to cellular telephones, central
              processing units, laptops, tablets, eReaders, notes, iPads, and iPods; internal and
              peripheral storage devices such as external hard drives, thumbdrives, SD cards,
              flash drives, USB storage devices, CDs and DVDs, and other memory storage
              devices); peripheral input/output devices (including but not limited to keyboards,
              printer, video display monitors, and related communicationsdevices such as cables
              and connections), as well as any devices mechanisms, or parts that can be used to
              restrict access to computer hardware (including but not limited to physical keys
              and locks).

           b. Computer software is digital information, which can be interpreted by a computer
              and any of its related components to direct the way they work. Software is stored
              in electronic, magnetic, or other digital form. It commonly includes programs to
              run operating systems, applications, and utilities.

           c. Documentation: Computer-related documentation consists of written, recorded,
              printed, or electronically stored material, which explains or illustrates how to
              configure or use computer hardware, software, or other related items.

           d. Passwords and Data Security Devices: Computer passwords and other data security
              devices are designed to restrict access to or hide computer software, documentation
              or data. Data security devices may consist of hardware, software or other
              programming code. A password (a string of alpha-numeric characters) usually
              operates a sort of digital key to “unlock” particular data security devices. Data
              security hardware may include encryption devices, chips, and circuit boards.Data
              security software of digital code may include programming code that creates“test”
              keys or “hot” keys, which perform certain pre-set security functions when touches.
              Data security software or code may also encrypt, compress, hide, or “booby-trap”
              protected data to make it inaccessible or unusable, as well as reversethe progress to
              restore it.


As used above, the terms “records, documents, messages, correspondence, data, and materials”
includes records, documents, messages, correspondence, data, and materials, created, modified or
stored in any form, including electronic or digital form, and by whatever means they may have
been created and/or stored. This includes any handmade, photographic, mechanical, electrical,
electronic, and/or magnetic forms. It also includes items in the form of computer hardware,
software, documentation, passwords, and/or data security devices.




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13.    For any computer, computer hard drive, or other physical object upon which computer
       data can be recorded (hereinafter, “COMPUTER”) that is called for by this warrant, or
       that might contain things otherwise called for by this warrant:

           a. evidence of who used, owned, or controlled the COMPUTER at the time the things
              described in this warrant were created, edited, or deleted, such as logs, registry
              entries, configuration files, saved usernames and passwords, documents, browsing
              history, user profiles, email, email contacts, “chat,” instant messaging logs,
              photographs, and correspondence;

           b. evidence of software that would allow others to control the COMPUTER, such as
              viruses, Trojan horses, and other forms of malicious software, as well as evidence
              of the presence or absence of security software designed to detect malicious
              software;

           c. evidence of the lack of such malicious software;

           d. evidence of the attachment to the COMPUTER of other storage devices or similar
              containers for electronic evidence;

           e. evidence of counter-forensic programs (and associated data) that are designed to
              eliminate data from the COMPUTER;

           f. evidence of the times the COMPUTER was used;

           g. passwords, encryption keys, and other access devices that may be necessary to
              access the COMPUTER;

           h. documentation and manuals that may be necessary to access the COMPUTER or to
              conduct a forensic examination of the COMPUTER;

           i. contextual information necessary to understand the evidence described in this
              attachment.

 With respect to the search of any of the items described above which are stored in the form of
magnetic or electronic coding on computer media or on media capable of being read by a computer
with the aid of computer-related equipment (including CDs, DVDs, thumb drives, flash drives,
hard disk drives, or removable digital storage media, software or memory in any form), the search
procedure may include the following techniques (the following is a non-exclusive list, and the
government may use other procedures that, like those listed below, minimize the review of
information not within the list of items to be seized as set forth herein, while permitting
government examination of all the data necessary to determine whether that data falls within the
items to be seized):

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       1.     surveying various file “directories” and the individual files they contain
(analogousto looking at the outside of a file cabinet for markings it contains and opening a
drawer believed to contain pertinent files);

       2.      “opening” or cursorily reading the first few “pages” of such files in order to
determine their precise contents;

       3.      “scanning” storage areas to discover and possible recover recently deleted files;

       4.      “scanning” storage areas for deliberately hidden files; or

        5.      performing key word searches or other search and retrieval searches through all
electronic storage areas to determine whether occurrences of language contained in such storage
areas exist that are intimately related to the subject matter of the investigation.

         6.     If after performing these procedures, the directories, files or storage areas do not
reveal evidence of the specified criminal activity, the further search of that particular directory,
file or storage area, shall cease.


With respect to the search of the information provided pursuant to this warrant, law enforcement
personnel will make reasonable efforts to use methods and procedures that will locate and
expose those categories of files, documents, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information notwithin the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may implicate the
attorney-client privilege, law enforcement personnel will discontinue its review and take
appropriate steps to segregate all potentially privileged information so as to protect it from
substantive review. The investigative team will take no further steps regarding any review of
information so segregated absent further order of the court. The investigative team may continue
to review any information not segregatedas potentially privileged.




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